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Paul Malagerio (00:00):
(silence).

Paul Malagerio (00:12):
You heard me laughing, didn't you?

James Garretson (00:14):
No, I just called Pontotoc County, because I'm just trying to track the status of my friend William Talley.

Paul Malagerio (00:24):
I was going to ask you about that today, but I was driving [crosstalk 00:00:25] the fucking car.

James Garretson (00:25):
I'm all over it, dude. He got transferred to Pontotoc, I was making sure they came and picked him up.

Paul Malagerio (00:35):
Good.

James Garretson (00:35):
Now he's over there, he has some bonds. So, Lowe hasn't bailed him out at this point.

Paul Malagerio (00:47):
That makes your day, doesn't it?

James Garretson (00:48):
Yeah. My day's been kind of shitty, so I need some fucking humor.

Paul Malagerio (00:55):
Did you get the money out of that guy?

James Garretson (00:58):
My five fucking grand, he gave me three fucking grand. And then he says, "Well-

Paul Malagerio (01:05):
No. You should put-

James Garretson (01:06):
Yeah, and then he says, "I'll come back with the release, and bring the two grand." I just rolled my
goddamn eyes. I hate fucking people.

Paul Malagerio (01:20):
You should have put the three grand in your pocket, and said, "Come back with the two grand, and we'll
talk." Did you talk to him?

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James Garretson (01:30):
A little bit, not much. I just fucking fuck [crosstalk 00:01:31] fucked around. But I'm going to call him in
the morning, I'll be like, "Are you going to bring the other two grand?" Three grand ain't going to fucking
pay for it, I needed $5100. So, I don't know. But I hear John Finlay went up there and cried like a bitch.

Paul Malagerio (01:48):
What did I tell you?

James Garretson (01:49):
You hit the nail right on the head there.

Paul Malagerio (01:53):
I told you he'd fucking cry.

James Garretson (01:54):
He cried like a bitch. [crosstalk 00:01:56] "I used to love you. I used to take [inaudible 00:02:07] dicks in
the ass for you, Joe Exotic."

Paul Malagerio (02:10):
Who's going to play his part in the fucking movie? John Cryer from two and half men.

James Garretson (02:15):
So, here's what I want, I kind of want Joe to get off on the charges, all right-

Paul Malagerio (02:19):
He won't.

James Garretson (02:19):
... because I was thinking this last night, the little kiss he blew me. And I just want to fucking wreck him.

Paul Malagerio (02:27):
No, you're going to wreck him without getting your hands dirty on the scum that he is.

James Garretson (02:34):
[crosstalk 00:02:34] Did you see that fucking picture that Kelly [inaudible 00:02:35] made with a Lowe in
a high chair?

Paul Malagerio (02:39):
I sent it to you.

James Garretson (02:41):
Are you the one that sent it to me?



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Paul Malagerio (02:44):
Yeah, about two hours ago.

James Garretson (02:45):
Shit, that's so funny this fucking thing.

Paul Malagerio (02:49):
They're saying that Jeff Lowe was the one crying in court because he didn't get his pacifier before they
put him in his booster seat.

James Garretson (02:58):
You want to hear some that pisses me off? Jeff low didn't even have to testify.

Paul Malagerio (03:03):
Did he?

James Garretson (03:04):
He didn't.

Paul Malagerio (03:07):
I thought he was on the list.

James Garretson (03:08):
He was, they didn't call him up.

Paul Malagerio (03:13):
Something's up.

James Garretson (03:14):
So, the whore fucking testified, Lauren.

Paul Malagerio (03:18):
Really?

James Garretson (03:19):
Yes. It went [Blubber 00:03:21], a few minutes of Blubber from finishing up from yesterday. Then it went
the FBI agent, undercover agent. And then it went-

Paul Malagerio (03:28):
Again?

James Garretson (03:30):
... pussy boy [crosstalk 00:03:31] Finlay.

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Paul Malagerio (03:33):
Hold on, the FBI the second time, he went up twice?

James Garretson (03:36):
No, the FBI agent's only... That's the undercover agent, the FBI, the guy that ran the FBI stuff in
Oklahoma, he testified. And then the [crosstalk 00:03:47] undercover. And then fucking pussy boy
Finlay. And then Lauren Lowe.

Paul Malagerio (03:55):
So, the prosecution subpoenaed Lauren.

James Garretson (04:00):
Yes. And the prosecution is done.

Paul Malagerio (04:06):
Already? They flew through it pretty good, didn't they?

James Garretson (04:09):
Yeah, but then who's Joe calling for the defense?

Paul Malagerio (04:13):
I thought he wasn't calling anybody.

James Garretson (04:15):
I guess they called a bunch of people now.

Paul Malagerio (04:20):
Well, did you get a subpoena?

James Garretson (04:22):
I already went.

Paul Malagerio (04:25):
I know. Just a ploy. Drag it out so he can see daylight a few more [crosstalk 00:04:31]-

James Garretson (04:32):
I want him to get life now just for fucking smiling and smirking like the-

Paul Malagerio (04:38):
He's done.

James Garretson (04:38):
... bitch he is.

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Paul Malagerio (04:40):
That's all he's got [crosstalk 00:04:43]-

James Garretson (04:43):
[crosstalk 00:04:43] a fucking deal, and you know he had to go testify. Supposedly he was the star
witness. I'm kind of pissed.

Paul Malagerio (04:54):
That don't make any sense. That don't make any sense whatsoever. I'm confused about that.

James Garretson (05:00):
I am too. And then the redheaded whore, he put her up.

Paul Malagerio (05:05):
Yeah, well she had to lie. She can't tell the truth, or she wouldn't have been able to leave the room. She
had to fucking lie. Shit. They didn't... What? What's Lowe got on [Mat 00:05:21] and the feds that they
don't want him talking?

James Garretson (05:23):
I don't know. There's something going on.

Paul Malagerio (05:33):
Unless he's been doing something with Mario, and that's going to come up later. Mario would just kill
him.

James Garretson (05:41):
Mario, not these days. Maybe 20 years ago, but Mario's just a fucking weirdo now.

Paul Malagerio (05:49):
Yeah, Mario don't need this shit.

James Garretson (05:54):
He's not that life anymore. He just does his thing now.

Paul Malagerio (05:57):
Well, that's an interesting mystery. I was [inaudible 00:06:00] sitting on the toilet, I was going see if I
could drive all night, but two hours ago, I went, "Fuck, I'm not driving in the dark." The car they gave me
is a Ford Edge and it's got this navigation system, and it's like I'm in a fucking... I can't turn the light
down, and I can't turn it off, and I'm trying to drive and cover it with stuff, because it's blaring in my
face. Its blinding me while I'm trying to drive. And I went through all the menus, pushed all the buttons,
checked everything, I can't shut it off, and I can't turn the light down. I know there's a setting for it, but I
can't fucking find it. I was so pissed.

James Garretson (06:35):

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We'll have to get you some duct tape.

Paul Malagerio (06:39):
No, I know people like all that shit, but I never want something like that in my vehicle, totally fucking
useless, you're paying for that system.

James Garretson (06:49):
So, Lowe didn't have to testify, isn't that some bullshit?

Paul Malagerio (06:55):
I'm ticked off when the guy send you three grand, when he said five.

James Garretson (06:59):
Yeah. I'm not happy about it. Not happy at all about it. But these mother... I'm done with this whole...
I'm not going to talk to anybody else in the animal industry when we get this place built. I don't want to
talk to anybody. I'm done.

Paul Malagerio (07:14):
I don't blame you.

James Garretson (07:16):
Fucking done with them.

Paul Malagerio (07:19):
Well, they're going to want to talk to you, because they're going to have problems, and it's not your
fucking problem.

James Garretson (07:35):
Yeah, I'm don't with them. Done with [crosstalk 00:07:36].

Paul Malagerio (07:35):
So, you keep your-

James Garretson (07:35):
That doesn't make sense that Lowe didn't have to testify, and I had to go through all that bullshit, and
Lowe didn't. That pisses me off.

Paul Malagerio (07:40):
Did you ask somebody why?

James Garretson (07:41):
They're not going to tell me anything. But Finlay [crosstalk 00:07:49] last two minutes up there on the
stand.


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Paul Malagerio (07:53):
So, what bomb did Finlay drop? He corroborated a lot of stuff, no doubt. Did he have any access to the
information or the conversations about the murder for hire, or was that left out of it?

James Garretson (08:02):
No. I don't think so.

Paul Malagerio (08:07):
Was he there when Joe was killing the cats?

James Garretson (08:11):
No. Finlay was just to deliver up all the cats, I don't think he was there when he killed them.

Paul Malagerio (08:19):
Okay, so the main thing today was talking about the buying and selling and the shipping of the cats
without paperwork?

James Garretson (08:28):
Yeah, basically.

Paul Malagerio (08:29):
That'll fly. I wonder how many counts they went through, because there's fucking hundreds.

James Garretson (08:33):
I don't know. It's just fucking ridiculous.

Paul Malagerio (08:38):
So, any idea what the schedule is for that, for the next week?

James Garretson (08:44):
No. I don't even know who they're calling or what. I have no idea.

Paul Malagerio (08:49):
So, the prosecution rest their case, and now it's the defense going to be bringing witnesses.

James Garretson (08:55):
Yeah, now they bring their witnesses, and-

Paul Malagerio (08:58):
And the prosecution doesn't know who those witnesses are?

James Garretson (09:03):
I don't think so. But I'm not too sure. I don't know.

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Paul Malagerio (09:11):
And they won't bring back anybody that's already testified, correct?

James Garretson (09:14):
I don't think so, no. Once you're done, you're done.

Paul Malagerio (09:20):
Because they did cross examination already. SO the question is, who are they going to bring in? Tim
Stark? Who have they got to say anything that would nullify what has already been discussed. Think
about that. Someone's going to come up there and try to shit on testimony, and the documents, the
tape recordings, the paperwork, what can anybody say to try to change that? Think about that tonight,
and you probably will keep getting dead ends, or you'll keep thinking about it till you realize there's
nobody.

Speaker 3 (09:57):
Exotic has come under scru-

James Garretson (09:58):
Yeah, I don't know who-

Paul Malagerio (09:59):
Say again.

James Garretson (10:00):
I don't know who they can blame, unless the monkey ladies are all going to line up.

Paul Malagerio (10:07):
Well, that's just hearsay, and that's all they're going to say is, "We love Joe, he's really nice."

James Garretson (10:15):
[crosstalk 00:10:15] [inaudible 00:10:17].

Paul Malagerio (10:18):
They're [inaudible 00:10:19], Chris [inaudible 00:10:20] going to testify, to what? "I hate everybody
there, they're all liars, and Joe's my hero"? Yeah, that's credible. That'll do him more harm than good.
There's nothing. There's no tape recording.

James Garretson (10:32):
The hairless hobbit.

Paul Malagerio (10:36):
Well, there's an angle. Maybe Jeff Lowe's going to testify for the defense. Maybe they've subpoenaed
him. Maybe that [crosstalk 00:10:46]... Go ahead. I'm having trouble hearing you, go ahead.


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James Garretson (10:46):
Yeah, I mean that's a [inaudible 00:10:51].

Paul Malagerio (10:53):
So, that's why the prosecution, the defense maybe already subpoenaed him so the prosecution couldn't,
or didn't, or for whatever reason. So, Jeff Lowe's going to go in there, and talk. That's what everybody
seems to be waiting for, you and I included. Because he'll know more than everybody else. What is Jeff
Lowe going to talk about that's not going to put him in jail?

James Garretson (11:14):
He's going to lie though.

Paul Malagerio (11:14):
There you go.

James Garretson (11:15):
Every time.

Paul Malagerio (11:15):
There you go. That's it, right there. Subpoena Jeff Lowe, the defense, bring him up there, and they're
going to prove that he's a lying con man piece of shit felon, and this was all his idea. That's it.

James Garretson (11:32):
[crosstalk 00:11:32].

Paul Malagerio (11:32):
If you were his lawyer-

James Garretson (11:36):
Hey, let me call you back, I got to run outside real quick. [inaudible 00:11:37] I'll call you right back.




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